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                 Boy Scouts of America – List of Appellees


        1. Tort Claimants’ Committee

        2. Coalition of Abused Scouts for Justice

        3. Future Claimants’ Representative

        4. The Zalkin Law Firm, P.C. and Pfau Cochran Vertetis Amala PLLC

        5. Hartford Accident and Indemnity Company, First State Insurance
           Company, Twin City Fire Insurance Company, and Navigators
           Specialty Insurance Company

        6. Century Indemnity Company, as successor to CCI Insurance
           Company, as successor to Insurance Company of North America and
           Indemnity Insurance Company of North America, and Chubb
           Companies

        7. American Zurich Insurance Company, American Guarantee Insurance
           Company, and Steadfast Insurance Company

        8. Clarendon National Insurance Company, as successor in interest by
           merger to Clarendon America Insurance Company; River Thames
           Insurance Company Limited, as successor in interest to Union
           America Insurance Company; and Zurich American Insurance
           Company, as successor to Maryland Casualty Company, Zurich
           Insurance Company, and American General Fire & Casualty
           Company

        9. Official Committee of Unsecured Creditors

        10. Ad Hoc Committee of Local Councils of the Boy Scouts of America
